       Case 2:16-cv-00128-LGW-BWC Document 65 Filed 03/04/19 Page 1 of 3




                   IN THE UNITED STATES DISTRICT COURT
                  FOR THE SOUTHERN DISTRICT OF GEORGIA
                           BRUNSWICK DIVISION

ROBERT CASTLEBERRY,                                 Civil Action No.

     Plaintiff,                                     2:16-cv-00128-LGW-BWC

v.                                                  JURY TRIAL DEMANDED

CAMDEN COUNTY,

     Defendant.


                      NOTICE OF CHANGE OF ADDRESS

        Victor Severin Roberts, of Barrett & Farahany, hereby gives notice that his

contact information is as follows:

                           BARRETT & FARAHANY
                        1100 Peachtree Street NE, Suite 500
                                 Atlanta, GA 30309
                                   404-214-0120
                                Fax: 404-214-0125
                         Email: severin@justiceatwork.com

        Kindly make the necessary changes to the Court’s records.

        This 4th day of March, 2019.

                                             BARRETT & FARAHANY

                                             s/ V. Severin Roberts
                                             V. Severin Roberts
                                             Georgia Bar No. 940504

                                             Attorney for Robert Castleberry
     Case 2:16-cv-00128-LGW-BWC Document 65 Filed 03/04/19 Page 2 of 3




1100 Peachtree Street, Suite 500
Atlanta, Georgia 30309
Telephone: (404) 214-0120
Facsimile: (404) 214-0125
severin@justiceatwork.com
       Case 2:16-cv-00128-LGW-BWC Document 65 Filed 03/04/19 Page 3 of 3




                   IN THE UNITED STATES DISTRICT COURT
                  FOR THE SOUTHERN DISTRICT OF GEORGIA
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ROBERT CASTLEBERRY,                                     Civil Action No.

     Plaintiff,                                         2:16-cv-00128-LGW-BWC

v.                                                      JURY TRIAL DEMANDED

CAMDEN COUNTY,

     Defendant.


                          CERTIFICATE OF SERVICE

        I hereby certify that on this day I filed the foregoing Notice of Change of

Address with the Clerk of Court using the CM/ECF system which will send

notification of such filing to all counsel of record.

        This 4th day of March, 2019.

                                               BARRETT & FARAHANY

                                               s/ V. Severin Roberts
                                               V. Severin Roberts
                                               Georgia Bar No. 940504

                                               Attorney for Robert Castleberry
